  

            ANTHONY         SCOTT LEVANDOWSKI
                     
                                                   

                 
                               


   Northern District
                                                   of California
                                                         

                          20-30242
    
                                                                                                                           
                                                                                                                                          




 
                                                                                      

 
 
 


    


    


         
         

    

            
             

                                                                                                         
                                                                                                                              

                                                                                                                           

                   5500 Lowell St.
                         04/18
                                                                                          
                                                                              
                                                                       03/19
                                                                                                                                         
                                                

                  Oakland                 CA 94068
                                                
                                                                                              


                                                                                                                           

                  6105 Chabot Rd.
                         12/15
                                                                                          
                                                                              
                                                                       03/18
                                                                                                                                         
                                               

                  Oakland                CA 94618
                                                
                                                                                              


    
        
        
        


    

                                                            
                  Case: 20-30242               Doc# 17           Filed: 03/18/20          Entered: 03/18/20 22:46:59               Page 1 of
                                                                              28
     ANTHONY        SCOTT LEVANDOWSKI
                                                                     20-30242
                                                                                                       
                             




  
     
     

      
     
                                                                                                       

                                                                                           
                                                                          
                                                                                                                                 


                                     16,667             
                                                                                               
            
                                                                                            

                                                                    
                                                                                  98,570
                                                                                                             
                                     2019
            
                                             
                                                                                            

                                                         
                                                                                                      
                                                                                                      0
                                                                                                                           
                                      2018
                                                      
                                             




  
     
     
     

     

      
      
                                                                                                        

                                                                                      
                                                                                                 
                                                                                                                      
                                                                                                                                 



             LLC Invest Sale                  6,171  
                                                   
              Loan Interest
                                                              21,600  
                                                                       
                                                         Bank Interest
                                                                         60  
                                                                             


            
                                                         Bank Interest
                                                                      8,773  
                                                                              

                                     2019
                         
                                             
                                                            



                     Loan Interest
                                                                     21,600  
                                                                              
                                     2018
                      Bank Interest
                                                                         868  
                                                                              
                                             
                                                            




                                                                     
             Case: 20-30242                  Doc# 17             Filed: 03/18/20          Entered: 03/18/20 22:46:59                       Page 2 of
                                                                              28
      ANTHONY         SCOTT LEVANDOWSKI
                                                                  20-30242
                                                                                                        
                                   




  



  

            
                 
                

                    

                    
                          
                          
                 

   
                

                    

                    
                          
                          


                                                                                             
                                                                            


                       (See   attached)
                                                 6,222,545 
                                                                                                                            
                        
                                                                                                                                              
                                      
                                                                                                                                
                                                                                                                                              
                                      
                                                                                                                                             
                        
                                           
                                                                                                                                              


                                                         
                        
                                                                                                                                              
                                      
                           
                                                                                                                                              
                                                                                                                                              
                                      
                                                                                                                                             
                                                                                                         
                                                     




                                                         
                        
                                                                                                                                              
                                      
                           
                                                                                                                                              
                                                                                                                                              
                                      
                                                                                                                                             
                                                                                                         
                                                     




                                                                    
              Case: 20-30242                      Doc# 17              Filed: 03/18/20      Entered: 03/18/20 22:46:59                   Page 3 of
                                                                                    28
     ANTHONY        SCOTT LEVANDOWSKI
                                                               20-30242
                                                                                                     
                              




  
     
     
     
     

      
      
                                                                                   
                                                                                          


            (See attached)
                             
            


             
                


             

            
                                    



                             
            

             
                


             

            
                                    



  
     
     

      
      
                                                                                 
                                                                                         
                                                                                                                        

            (See  attached)
                        
                                                                                      4,612,710
                                                                                    
            


             
                


             

            
                                    




                             
            


             
                


             

            
                                    




                                                                 
             Case: 20-30242                     Doc# 17           Filed: 03/18/20      Entered: 03/18/20 22:46:59                      Page 4 of
                                                                               28
      ANTHONY         SCOTT LEVANDOWSKI
                                                                            20-30242
                                                                                                                 
                                       




  
  
     
     

      
      
                                                                                                                      


                       (See attached)
             
                                                                                                         
                                                                                                         
                                                                                                                                                           
                                                                                                                                                           
                                                                    
                                                                                                                                             
                                                                    
                                                                                                                                



                                                                                                                   
                                                                 
                                                                                                                                                           
                                                                    
                                                                                                                                             
                                                                    
                                                                                                                                



  
     

            
           

                                                                                                                           

                                                           Cash that was swept from bank for tax
                 CA  Franchise Tax Board
                  year 2016 back taxes under dispute.                                           3/31/19               100,864
                                                                                                                                             
                 


                 
                                                                 

                                                                                   
                 
                                                                                   

                 Sacramento             CA                                         
                 
                                                              

                                                                                                                            



                                                                                                                                               
                 
                 


                 
                        
                                                                               

                                          
                                                                                   
                 
                                   
                                                                                   
                                                                                   



                                                                             
              Case: 20-30242                        Doc# 17                Filed: 03/18/20         Entered: 03/18/20 22:46:59                       Page 5 of
                                                                                        28
          ANTHONY        SCOTT LEVANDOWSKI
                                                                         20-30242
                                                                                                               
                                      




  
     
           
           

                                                                                                     
                                                                                                                                     
            
            


                                                                                             
                   


            

            
                                                


  
     
      
      

  


 

      
      

                                                                             
                                                                                                                          



            (See attached)
                                                                                                       
            


                                                                                                       

            
                   


            
                                            


             


                                                                           
                                                                                                                          


                                                                                                        
            


                                                                                                        


            
                   


            
                                            


             


                                                                            
               Case: 20-30242                        Doc# 17              Filed: 03/18/20          Entered: 03/18/20 22:46:59                       Page 6 of
                                                                                       28
          ANTHONY        SCOTT LEVANDOWSKI
                                                                                20-30242
                                                                                                                    
                                        




 

      
      
                                                                                      
                                                                                                                    

                                                                    2004 Lexus LS 430
            Matrix  Parent Network
                                                                                                       5/28/18
                                                                                                                                                                4,150
                                                                                                                                                                 
            

            Matrix  Parent Network
                                                                                                                 

            4971  Pacheco Blvd.
            
                  


            Martinez            CA 94553
            
                             




           


  
     

      
      

                                                                    
                                                                                                                                       
                                                                       
                                                                       


                                                                                                                                                       




  

  
     
     

      
      
                                                                                               
            Keller Benvenutti Kim LLP
            
                                                                                                                                              
                                                                                                                         
                                                                     Payments made from July 2019 through
            650  California St., Suite 1900
             
                                                       February 2020 for fees and retainer amounts. As                                          163,440
                                                                                                                                                                 
                                                                     of the filing date, the retainer balance held is
             
                                                                     $57,132.                                                                          
            San  Francisco CA 94108
             
                                           


              tkeller@kbkllp.com
             
             

             
             



                                                                                       
               Case: 20-30242                       Doc# 17                 Filed: 03/18/20            Entered: 03/18/20 22:46:59                         Page 7 of
                                                                                         28
       ANTHONY         SCOTT LEVANDOWSKI
                                                                             20-30242
                                                                                                                   
                                         




                                                                                               
                                                                                                                                               
            Paladin  Management Group
            
             
                                                                      Payment of retainer. As of the filing date, the
                                                                      retainer balance is $26,681.                                      2/24/2020
                                                                                                                                                              40,000
                                                                                                                                                                
            633  W 5th St, 28th Floor
             
                     

                                                                                                                                                      
             

            Los  Angeles        CA 90071
             
                                            


            asoong@paladinmgmt.com
            
             

             
             


  
     
     

      
      
                                                                                              
                                                                                                                                         
                                                                                                    
             

                                                                                                                 
                     

             
                                                                                                                                                      
             
                                          

  
     
     
     
      
      
                                                                                      
                                                                                                                             
            (See  accompanying notes)
             
             

                                                                                                                               
                     

             

             
                                            


             

             
             
                                                                                                                                                                   
             
                     

             

             
                                            

             

                                                                                  
              Case: 20-30242                         Doc# 17                 Filed: 03/18/20          Entered: 03/18/20 22:46:59                     Page 8 of
                                                                                          28
        ANTHONY        SCOTT LEVANDOWSKI
                                                                         20-30242
                                                                                                               
                                    




 
     

      
      
                                                                                                           
                                                                                                                                                             


                                                                                                                                                             
             


            




 

  
     
     
     
            
            
                 [see attached for more]                                              
                                                                                                                          
                                                                                                                                  
            First Republic Securities
             
             
                                                                          6 2 5 7
                                                                                                 2/14/20
                                                                                                                                                          37,152
                                                                                                                                                          
            111  Pine St.
             
              
                                                                                                            

                                                                       

            San  Francisco CA 94111
             
                                                                                                            
                                                                                    


            First Republic Bank
                                     6 7 1 3
                                                                                                 10/1/19
                                                                                                                                                         18, 295
                                                                                                                                                          
             
                                                                                                            
            111  Pine St.
             
                                                                                              
            10/1/19
                                                                       
            $18,295
            San  Francisco CA 94111
                                                                       
                                         


  
     
            
            
                                                                                                               
                                                                                                                                                                 

                                                                                                                                                                     
                              
                                    
                                                                                                                                                                     

                              
                                                      

             
                                                                   
                                                                                 
             
                               



                                                                            
              Case: 20-30242                      Doc# 17               Filed: 03/18/20               Entered: 03/18/20 22:46:59                 Page 9 of
                                                                                     28
        ANTHONY        SCOTT LEVANDOWSKI
                                                                               20-30242
                                                                                                                     
                               





        
        
                                                                                                              
                                                                                                                                                                      


                                                                                                 
                                     
                                                                                                                                                                            
                          
                                                 

                          
                                                               
             
                               




  
     
         
            
                                                                                                                       


             
                                                                                                                                                      
                                                            
                         
              
                                                            
             
                                                            
                                                            
                               




 
  
     
     
  
     
  
     

 

 


            
            
                                                                                                               



                                                                                               
                                               

                       
                                               

                                                            
                                               


            
                              




                                                                                 
             Case: 20-30242                      Doc# 17           Filed: 03/18/20 Entered: 03/18/20 22:46:59                                        Page 10 of
                                                                                 28
        ANTHONY        SCOTT LEVANDOWSKI
                                                                         20-30242
                                                                                                           
                             




 

            
            
                                                                                                         


              
                                             
                                                                                                                                                              

              
                                             


              
                                                                

             
                               


 

            
            
                                                                                                                                                              
                                                                                          
                                                                                                                                                              

            
                                                                                                                                 
                                                             
                                                                                                                                                                  
                      
                                                                                                                                                    

            
                                                             
                                                                      




  
                 
                 
                 
                 
                 

            
            
                                                                                      
            (See   attached)
                                                                                     
             


                                                                                     
              
                                                                                         
             

                                                                                                                             
             
                               

                                                                                      
                                                                                     
             


                                                                                     
              
                                                                                         
             

             
                                                                                                                             
                               


                                                                            
             Case: 20-30242                    Doc# 17           Filed: 03/18/20 Entered: 03/18/20 22:46:59                                   Page 11 of
                                                                               28
Case: 20-30242   Doc# 17   Filed: 03/18/20 Entered: 03/18/20 22:46:59   Page 12 of
                                         28
ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
SOFA Part 3: 6 Creditors to whom you paid a total of $6,825 or more 90 days before you filed for bankruptcy

                                                                                                    Dates of
        Creditor's Name                                  Creditor Address                           Payment     Amount                Purpose       Total Amount Paid
APPLECARD GSBANK                                                                                   01/02/2020       3,335   Credit Card
APPLECARD GSBANK                                                                                   02/03/2020      15,093   Credit Card
APPLECARD GSBANK                                                                                   03/02/2020       7,039   Credit Card
APPLECARD GSBANK                                                                                   03/04/2020      17,553   Credit Card
APPLECARD GSBANK Total             Lockbox 6112, PO Box 7247, Philadelphia, PA 19170-6112                                                                     43,020
ARGUEDAS CASSMAN                                                                                   02/11/2020      57,725 Legal
ARGUEDAS CASSMAN Total             803 Hearst Ave, Berkeley, CA 94710                                                                                         57,725
ASHLEY RUST ASSOCIATES                                                                             02/05/2020     114,000 PR
ASHLEY RUST ASSOCIATES Total       322 East 19th, Suite 4RNew York, NY                                                                                       114,000
CHASE CREDIT CARD                                                                                  12/23/2019       1,522   Credit Card
CHASE CREDIT CARD                                                                                  01/02/2020         785   Credit Card
CHASE CREDIT CARD                                                                                  01/21/2020       2,610   Credit Card
CHASE CREDIT CARD                                                                                  02/03/2020       2,212   Credit Card
CHASE CREDIT CARD                                                                                  02/21/2020       2,394   Credit Card
CHASE CREDIT CARD                                                                                  03/02/2020       2,434   Credit Card
CHASE CREDIT CARD Total            P.O. Box 15298 Wilmington, DE 19850-5298                                                                                   11,957
FAWN PARK                                                                                          02/24/2020      25,280 Rent
FAWN PARK                                                                                          02/24/2020      16,640 Rent
FAWN PARK Total                    [not disclosed] St. Helena, CA 94574                                                                                       41,920
GOODWIN PROCTER                                                                                    02/12/2020     150,117 Legal
GOODWIN PROCTER                                                                                    03/04/2020     500,000 Legal
GOODWIN PROCTER                                                                                    03/04/2020     288,726 Legal
GOODWIN PROCTER Total              3 Embarcadero Center 28th Floor, San Francisco, CA 94111                                                                  938,843
HOLLAND AND ASSOCIATES                                                                             01/07/2020       3,437 Tax
HOLLAND AND ASSOCIATES                                                                             03/04/2020      25,000 Tax
HOLLAND AND ASSOCIATES                                                                             03/04/2020       6,646 Tax
HOLLAND AND ASSOCIATES Total       2479 E Bayshore Rd #250, Palo Alto, CA 94303                                                                               35,082
LUHRS PROPERTY                                                                                     12/20/2019         198   Rent
LUHRS PROPERTY                                                                                     01/02/2020       6,200   Rent
LUHRS PROPERTY                                                                                     01/21/2020         165   Rent
LUHRS PROPERTY                                                                                     02/03/2020       6,200   Rent
LUHRS PROPERTY                                                                                     02/21/2020         154   Rent
LUHRS PROPERTY                                                                                     03/02/2020       6,200   Rent
LUHRS PROPERTY                                                                                     03/02/2020       6,200   Rent
LUHRS PROPERTY                                                                                     03/04/2020       6,200   Rent
LUHRS PROPERTY                                                                                     03/04/2020       6,200   Rent
LUHRS PROPERTY                                                                                     03/04/2020       6,200   Rent
LUHRS PROPERTY Total               212 Caledonia St Sausalito, CA 94965                                                                                       43,917
PALADIN                                                                                            02/24/2020      40,000 Financial Advisor
PALADIN Total                      633 W. 5th St., 28th Fl, Los Angeles, CA 90071                                                                             40,000
PRONTO.AI                                                                                          02/20/2020    3,002,000 SAFE investment
PRONTO.AI Total                    1186 Folsom St., San Francisco, 94103                                                                                   3,002,000
RAMSEY AND EHRLICH LLP                                                                             03/03/2020     950,000 Legal
RAMSEY AND EHRLICH LLP                                                                             03/04/2020     200,000 Legal
RAMSEY AND EHRLICH LLP Total       803 Hearst Ave., Berkeley, CA 94710                                                                                     1,150,000
REEVEMARK LLC                                                                                      12/17/2019     150,000 PR
REEVEMARK LLC                                                                                      03/04/2020      50,000 PR
REEVEMARK LLC Total                261 Madison Avenue, 6th Fl.New York, NY 10016                                                                             200,000
ROYSE LAW FIRM, PC                                                                                 12/04/2019       1,196   Legal
ROYSE LAW FIRM, PC                                                                                 01/13/2020      10,097   Legal
ROYSE LAW FIRM, PC                                                                                 02/11/2020       2,803   Legal
ROYSE LAW FIRM, PC                                                                                 03/04/2020      10,000   Legal
ROYSE LAW FIRM, PC Total           149 Commonwealth Dr #1001, Menlo Park, CA 94025                                                                            24,096
SIGNALARE                                                                                          03/02/2020      60,000 Accounting Services
SIGNALARE                                                                                          03/04/2020      20,000 Accounting Services
SIGNALARE Total                    [not disclosed] St. Helena, CA 94574                                                                                       80,000
TESLA MOTORS                                                                                       02/13/2020     131,286 Car
TESLA MOTORS Total                 3500 Deer Creek Road, Palo Alto, CA 94304                                                                                 131,286
VICTORIA PACCHIANA                                                                                 01/06/2020      10,000   PR
VICTORIA PACCHIANA                                                                                 01/06/2020       5,000   PR
VICTORIA PACCHIANA                                                                                 02/12/2020      10,000   PR
VICTORIA PACCHIANA                                                                                 03/04/2020     250,000   Home Studio SAFE
VICTORIA PACCHIANA                                                                                 03/04/2020      20,000   PR
VICTORIA PACCHIANA                                                                                 03/04/2020      13,700   Expense Reimbursement
VICTORIA PACCHIANA Total           [not disclosed] Sausalito, CA 94965                                                                                       308,700




           Case: 20-30242                   Doc# 17            Filed: 03/18/20 Entered: 03/18/20 22:46:59                                     Page 13 of
                                                                             28
ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
SOFA Part 3: 7 & 8 Payments to Insiders

                                                                                   Dates of               Total Amount
               Insider's Name                       Insider's Address              Payment     Amount         Paid      Reason for this Payment   Amount you still Owe
FAWN PARK                                                                           3/1/2019      4,000                 Rent
FAWN PARK                                                                           4/8/2019      4,000                 Rent
FAWN PARK                                                                           5/6/2019      4,000                 Rent
FAWN PARK                                                                          2/24/2020     25,280                 Rent
FAWN PARK                                                                          2/24/2020     16,640                 Rent
FAWN PARK Total                           [not disclosed] St. Helena, CA 94574                                   53,920                           N/A
ONE70                                                                              7/30/2019     30,000                 SAFE investment
ONE70 Total                                                                                                      30,000                           N/A
PRONTO.AI INC                                                                      3/19/2019     3,580                  SAFE investment
PRONTO.AI INC                                                                      3/25/2019        50                  Equity purchase
PRONTO.AI INC                                                                      4/19/2019   200,000                  SAFE investment
PRONTO.AI INC                                                                      5/19/2019   100,000                  SAFE investment
PRONTO.AI INC                                                                      9/19/2019   300,000                  SAFE investment
PRONTO.AI INC                                                                      2/20/2020 3,002,000                  SAFE investment
PRONTO.AI INC Total                       1186 Folsom St., San Francisco, 94103                              3,605,630
SIGNALARE                                                                           3/2/2020     60,000                 Accounting services
SIGNALARE                                                                           3/4/2020     20,000                 Accounting services
SIGNALARE Total                           [not disclosed] St. Helena, CA 94574                                   80,000                           N/A
STEFANIE A. OLSEN REVOCABLE TRUST                                                   7/1/2019        735                 Child support
STEFANIE A. OLSEN REVOCABLE TRUST                                                 12/10/2019         90                 Child support
STEFANIE A. OLSEN REVOCABLE TRUST                                                 12/18/2019         55                 Child support
STEFANIE A. OLSEN REVOCABLE TRUST                                                  2/13/2020     23,380                 Child support
STEFANIE A. OLSEN REVOCABLE TRUST Total   [Not disclosed] Mill Valley, CA 94941                                  24,260                           N/A
STEFANIE OLSEN                                                                     4/10/2019      6,880                 Child support
STEFANIE OLSEN                                                                      7/2/2019     10,320                 Child support
STEFANIE OLSEN Total                      [Not disclosed] Mill Valley, CA 94941                                  17,200                           N/A
SUZANNA MUSICK                                                                     3/21/2019    375,000                 Transfer/advance
SUZANNA MUSICK                                                                     3/22/2019    100,000                 Transfer/advance
SUZANNA MUSICK                                                                      7/1/2019      4,000                 Accounting services
SUZANNA MUSICK                                                                      8/1/2019      4,000                 Accounting services
SUZANNA MUSICK                                                                      8/1/2019      4,000                 Accounting services
SUZANNA MUSICK                                                                     8/29/2019      5,800                 Accounting services
SUZANNA MUSICK Total                      [not disclosed] St. Helena, CA 94574                                 492,800                            N/A
VICTORIA PACCHIANA                                                                 9/30/2019        200                 PR
VICTORIA PACCHIANA                                                                  1/6/2020     10,000                 PR
VICTORIA PACCHIANA                                                                  1/6/2020      5,000                 PR
VICTORIA PACCHIANA                                                                 2/12/2020     10,000                 PR
VICTORIA PACCHIANA                                                                  3/4/2020    250,000                 Home Studio SAFE
VICTORIA PACCHIANA                                                                  3/4/2020     13,700                 Expense Reimbursement
VICTORIA PACCHIANA                                                                  3/4/2020     20,000                 PR
VICTORIA PACCHIANA Total                  [not disclosed] Sausalito, CA 94965                                  308,900                            N/A




                Case: 20-30242            Doc# 17          Filed: 03/18/20 Entered: 03/18/20 22:46:59                                Page 14 of
                                                                         28
ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
SOFA Part 4: 9 Party in any lawsuit, court action, or administrative proceeding

              Case Title                Case Number                            Nature of Case                    Court or Agency     Court or Agency Address    City, State, ZIP   Status of the Case
Google LLC v. Anthony Levandowski JAMS Reference No.              Arbitration for breach of contract,   Judicial Arbitration and    Two Embarcadero Center San Francisco, CA 94111 Concluded
                                  1100086069                      breach of fiduciary duty and the duty Mediation Services          Suite 1500
                                                                  of loyalty, and unfair competition.

Google LLC v. Anthony Levandowski Case Nos. CPF-20-516982;        Civil case to confirm JAMS      Superior Court for the State of   400 McAllister Street   San Francisco, CA 94102 Pending
and Lior Ron                      CPF-20-516984                   arbitration award (see above).  California
                                                                                                  County of San Francisco
United States of America v. Anthony Case No. 19-cr-00377-WHA Criminal case for theft and          US District Court for the         450 Golden Gate Avenue San Francisco, CA 94102 Pending
Scott Levandowski                                            attempted theft of trade secrets and Northern District of California
                                                             seeking criminal forfeiture.




                                       Case: 20-30242              Doc# 17         Filed: 03/18/20 Entered: 03/18/20 22:46:59                       Page 15 of
                                                                                                 28
ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
SOFA Part 5: 13 Gifts

     Gift Recipient            Address        City      ST    Zip    Person's Relationship to You      Describe Gift      Date    Value
Thomas Gorton         2887 La Homa Court   Napa        CA    94558 Cousin                           Wedding gift        5/6/2019   $1,000
Victoria Pacchiana    [not disclosed]      Sausalito   CA    94965 Fiance                           Engagement Ring    9/29/2019 $25,589
Victoria Pacchiana    [not disclosed]      Sausalito   CA    94965 Fiance                           Tesla              2/13/2020 $130,000




              Case: 20-30242        Doc# 17      Filed: 03/18/20 Entered: 03/18/20 22:46:59                       Page 16 of
                                                               28
ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
SOFA Part 8:20 Financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or transferred within 1 year

  Financial Institution             Address                 City      ST     Zip       Last 4 digits       Type of Acct        Date    Last balance
RAD Oakland Investco      2101 Webster St suite 1801   Oakland       CA     94612           NA         LLC interest           2/3/2020 $8,000,000
Pronto.ai, Inc.           1186 Folsom St.              San Francisco CA     94103           NA         Equity interest      12/20/2019          $50




              Case: 20-30242            Doc# 17        Filed: 03/18/20 Entered: 03/18/20 22:46:59                         Page 17 of
                                                                     28
ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
SOFA Part 11: 27 Businesses owned or have connections to within 4 years before bankruptcy filing

                Bus. Name                            Address                      City        State  Zip      EIN    Dates Existed         Nature of Business        Name of Accountant
18231 Murphy Parkway, LLC               18231 Murphy Parkway                   Oakland         CA   94612 XX-XXXXXXX 2013 - present        Real estate development   Randy Miller (RAD)
280 Systems                             2330 Cowper                            Palo Alto       CA   94301 XX-XXXXXXX Jan 2016 - Feb 2016   Autonomous vehicles       Lior Ron (Otto)
Dwight Partners, LLC                    850 Hampshire Road, Suite E        Westlake Village    CA   91361 XX-XXXXXXX xxx - present         Real estate development   Randy Miller (RAD)
Fawn Park, LLC                          [not disclosed]                       St. Helena       CA   94574 XX-XXXXXXX May 2017 - Dec 2017   Rental real estate        Stephen Levandowski
Garden Village Partners, LLC            850 Hampshire Road, Suite E        Westlake Village    CA   91361 XX-XXXXXXX 2018 - present        Real estate development   Randy Miller (RAD)
Keystone Private Market V, LP           5000 Executive Pky, Suite 445        San Ramon         CA   94583 XX-XXXXXXX 2012 - present        Private Equity            Michelle Mattson
Metroid Group, LLC                      850 Hampshire Road, Suite E        Westlake Village    CA   91361 XX-XXXXXXX 2018 - present        Real estate development   Randy Miller (RAD)
NGI East Bay Portfolio LLC              PO Box 70975                           Oakland         CA 946123 XX-XXXXXXX 2014 - present         Real estate development   Randy Miller (RAD)
NGI Macarthur, LLC                      PO Box 70975                           Oakland         CA   94612 XX-XXXXXXX xxx - 2017            Real estate development   Randy Miller (RAD)
Otto Trucking (FKA 280 Systems)         737 Harrison St                     San Francisco      CA   94107 XX-XXXXXXX Feb 2016 - 2017       Autonomous vehicles       James Grace (Uber)
Ottomotto, LLC (AKA Ottomotto Inc)      1455 Market St                      San Francisco      CA   94103 XX-XXXXXXX Apr 2016 - Aug 2016   Autonomous vehicles       Steven Schechter (Moss Adams)
Pronto.ai, Inc.                         1186 Folsom St.                     San Francisco      CA   94103 XX-XXXXXXX Jan 2018 - present    Software development      Suzanna Musick
RAD Construction AKA RAD Urban          PO Box 70975                           Oakland         CA   94612 XX-XXXXXXX 2017 - 2017           Real estate development   Randy Miller (RAD)
Sixteenth Street Medical Center, LLC    PO Box 70975                           Oakland         CA 946123 XX-XXXXXXX 2007 - present         Real estate development   Randy Miller (RAD)
Uber                                    1455 Market St.                     San Francisco      CA   94103 XX-XXXXXXX Dec 2016 - May 2017   Ride-Hailing              James Grace (Uber)




                                   Case: 20-30242                Doc# 17           Filed: 03/18/20 Entered: 03/18/20 22:46:59                           Page 18 of
                                                                                                 28
ANTHONY SCOTT LEVANDOWSKI
Case Number 20-30242
SOFA Part 11.28 Parties provided financial statements to within 2 years of bankruptcy filing

                             Name                                                      Address                        City       State Zip         Date Issued
RAD Urban                                                       2101 Webster St suite 1801                       Oakland          CA 94612         12/31/2019
Provided by RAD Urban to the following related entities:
Centennial Commercial Finance Group                             12 East 49th Street, 28th Floor                  New York        NY    10017   Provided by RAD
Gibson, Dunn & Crutcher LLP                                     200 Park Ave.                                    New York        NY    10166   Provided by RAD
Greenberg Glusker Fields Claman & Machtinger LLP                1900 Avenue of the Stars, 21st Floor             Los Angeles     CA    90067   Provided by RAD
Hunton & Williams LLP                                           200 Park Avenue                                  New York        NY    10166   Provided by RAD
Husky Finco, LLC c/o Blackstone Mortgage Trust, Inc.            345 Park Ave.                                    New York        NY    10154   Provided by RAD
Reed Smith LLP                                                  506 Carnegie Center, Suite 300                   Princeton       NJ    08540   Provided by RAD
Stonebriar Commercial Finance                                   5601 Granite Parkway, Suite 1350                 Plano           TX    75024   Provided by RAD
Trimont Real Estate Advisors                                    One Alliance Center, 3500 Lenox Rd NE Suite G1   Atlanta         GA    30326   Provided by RAD
UBS AG                                                          1285 Avenue of the Americas                      New York        NY    10017   Provided by RAD
Westbrook Properties                                            12424 Wilshire Blvd., Suite 840                  Los Angeles     CA    90025   Provided by RAD

Personally provided to:
Department of Justice                                           550 Kearny St # 800                              San Francisco   CA    94108        8/28/2019
Ramsey & Ehrlich                                                803 Hearst Ave.                                  Berkeley        CA    94710        8/29/2019
Holland & Associates, CPAs                                      2479 E Bayshore Rd #250                          Palo Alto       CA    94303          Ongoing
Keller Benvenutti Kim LLP                                       650 California St., Suite 1900                   San Francisco   CA    94108          Ongoing
Paladin Management Group                                        633 W. 5th St., 28th Fl                          Los Angeles     CA    90071          Ongoing
Signalare                                                       [not disclosed]                                  St. Helena      CA    94574          Ongoing
Stephen Levandowski                                             [not disclosed]                                  St. Helena      CA    94574          Periodic




                           Case: 20-30242           Doc# 17       Filed: 03/18/20 Entered: 03/18/20 22:46:59              Page 19 of
                                                                                28
                          UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

In re Levandowski                                                               Case No. 20-30242

Notes and Statement of Limitations, Methodology and Disclaimer Regarding the Debtor’s
Statement and Schedules (the “Global Notes”)

Anthony Scott Levandowski (the “Debtor”) submits his Statement of Financial Affairs (the
“Statements”) and Schedules of Assets and Liabilities (the “Schedules”), pursuant to 11 U.S.C.
section 521 and Federal Rule of Bankruptcy Procedure 1007. The following notes regarding the
Statements and Schedules are fully incorporated into and made part of the Statements and
Schedules. These notes comprise an integral part of the Statements and Schedules and should be
referred to and considered in connection with any review of the Statements and Schedules.
Unless otherwise noted, the financial and other information contained in the Statements and
Schedules is derived from the Debtor in accordance with the Debtor’s financial reporting and
accounting policies and procedures.

The Debtor’s voluntary bankruptcy petition was filed on March 4, 2020 (the “Petition
Date”).The Debtor’s bankruptcy case is administered by order of the Bankruptcy Court under the
caption In re Levandowski, Case No. 20-30242 (HLB).

The Debtor’s financial records and accounting are not maintained according to Generally
Accepted Accounting Principles (“GAAP”) and the Debtor does not engage an outside auditor to
perform an audit of his financial information, thus the aggregate asset values and claim amounts
set forth in the Statements and Schedules may not reflect the values and amounts that would be
set forth in a balance sheet for the Debtor prepared in accordance with GAAP. Further, the
circumstances surrounding the Debtor’s petition limited the amount of time available to prepare
the Statements and Schedules, and as such they were prepared on an expedited basis.

In the interest of transparency and to provide full and complete information to the Court and
creditors, the Debtor has erred on the side of disclosure with respect to ambiguous or uncertain
instructions. Where possible, the Debtor or his agents have attempted contact with the Debtor’s
business partners to corroborate the Debtor’s records, but in some cases that third-party
verification was made difficult by the recent measures taken by local authorities to address
public health concerns related to the coronavirus pandemic. These circumstances
notwithstanding, the Debtor and his agents intend to continue their efforts to verify the financial
information contained herein to ensure completeness and accuracy.

It would be prohibitively expensive, unduly burdensome and extremely time-consuming to
obtain current market valuations of the Debtor’s assets. Accordingly, unless otherwise indicated,
net book values rather than current market values are reflected on the Statements and Schedules.
The current book values may not reflect a comprehensive review of accounting adjustments,
including asset impairments and write-downs, which may be required and conducted in relation
to the Debtor’s bankruptcy. The reader therefore should not place undue reliance upon the book
values associated with the assets listed.


                                                  1
DOCS_SF:97023.3 05062/002
Case: 20-30242              Doc# 17   Filed: 03/18/20 Entered: 03/18/20 22:46:59       Page 20 of
                                                    28
General Notes Regarding the Debtor’s Statements and Schedules

1. Financial Information.

The information provided for herein, except as otherwise noted, represents the assets and liability
data of the Debtor as of March 4, 2020, unless otherwise noted.

2. Unaudited Financial Information.

The Statements and Schedules were prepared by the Debtor’s business manager, who is not a
licensed CPA, and are unaudited. While the Debtor has tried to ensure that the Statements and
Schedules are accurate and complete based upon information that was available at the time of the
preparation, the subsequent receipt of information or an audit may result in material changes in
financial data contained in the Statements and Schedules. The Debtor and his agents continue
not only to review the Debtor’s books and records, but also to seek corroboration directly from
the Debtor’s business partners wherever possible to ensure both completeness and accuracy.

3. Claim Description.

Any failure to designate a claim on the Statements and Schedules as “contingent,” “unliquidated,”
or “disputed” does not constitute an admission that such claim is not “contingent,” “unliquidated,”
or “disputed.” The Debtor reserves the right to dispute, or to assert offsets or defenses to any claim
reflected on his Schedules as to amount, liability, or classification, or to otherwise subsequently
designate any claim as “contingent,” “unliquidated,” or “disputed.”

Moreover, the Debtor reserves all rights to amend the Statements and Schedules, in all respects, as
may be necessary or appropriate, including, but not limited to, the right to dispute or to assert
offsets or defenses to any claim reflected on the Statements and Schedules as to amount, liability or
classification of the claim, or to otherwise subsequently designate any claim as “disputed,”
“contingent” or “unliquidated.”

Furthermore, nothing contained in the Statements and Schedules shall constitute a waiver of rights
by the Debtor involving any present or future causes of action, contested matters or other issues
under the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
or other relevant non-bankruptcy laws.

4. Accuracy.

Reasonable efforts have been made to prepare and file complete and accurate Schedules and
Statements in the time available. However, while the Debtor has sought to file complete and
accurate Statements and Schedules, inadvertent errors and omissions may exist. The Debtor
reserves the right to amend his Statements and Schedules as necessary or appropriate. Nothing
contained in the Schedules and Statements constitutes a waiver of any of the Debtor’s rights or
an admission of any kind with respect to this chapter 11 case, including, but not limited to, any
rights or claims of the Debtor against any third party or issues involving substantive
consolidation, equitable subordination, or defenses or causes of action arising under the
provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable bankruptcy or
non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights


                                                  2
DOCS_SF:97023.3 05062/002
Case: 20-30242              Doc# 17   Filed: 03/18/20 Entered: 03/18/20 22:46:59         Page 21 of
                                                    28
contained elsewhere in the Global Notes does not limit in any respect the general reservation of
rights contained in this paragraph.

         a.       No Admission. Nothing contained in the Schedules and Statements is intended or
                  should be construed as an admission or stipulation of the validity of any claim
                  against the Debtor, any assertion made therein or herein, or a waiver of the
                  Debtor’s rights to dispute any claim or assert any cause of action or defense
                  against any party.

         b.       Recharacterization. Notwithstanding that the Debtor has made reasonable
                  efforts to correctly characterize, classify, categorize, or designate certain claims,
                  assets, executory contracts, unexpired leases, and other items reported in the
                  Schedules and Statements, the Debtor nonetheless may have improperly
                  characterized, classified, categorized, or designated certain items. The Debtor
                  thus reserve all rights to recharacterize, reclassify, recategorize, or redesignate
                  items reported in the Schedules and Statements at a later time as is necessary and
                  appropriate.

5. Liabilities.

The Debtor has sought to allocate liabilities between the prepetition and postpetition periods
based on the information and research that was conducted in connection with the preparation of
the Statements and Schedules. As additional information becomes available and further research
is conducted, the allocation of liabilities between prepetition and postpetition periods may
change.

6. Insiders.

For the purposes of the Statement and Schedules, the Debtor defines “insiders” pursuant to
section 101(31) as (a) relatives, (b) domestic partners (current and former), and (c) corporations
of which the Debtor is an officer, director, or person in control. Payments to insiders listed in (a)
through (c) above are set forth in response to Question 7 of the Statements. While the Debtor has
not determined and is not at this time taking a position regarding whether Pronto.ai is an insider,
he has elected to treat it as such for purposes of the Schedules.

Persons listed as “insiders” have been included for informational purposes only. The Debtor
does not take any position with respect to (a) such person’s influence over the control of the
Debtor, (b) the management responsibilities or functions of such individual, (c) the decision-
making or corporate authority of such individual or (d) whether such individual could
successfully argue that he or she is not an “insider” under applicable law.

The Debtor has endeavored to include all payments made over the twelve months preceding the
filing to any individual deemed an insider and reserves the right to update this information as the
Debtor and his agents continue to review the Debtor’s books and records.

7. Transfers Made Within 90 Days of Petition Date.

The response to Question 6 of the Statements lists all parties who received at least $6,825 in
aggregate within 90 days immediately preceding the Petition Date. In the interest of


                                                    3
DOCS_SF:97023.3 05062/002
Case: 20-30242              Doc# 17   Filed: 03/18/20 Entered: 03/18/20 22:46:59           Page 22 of
                                                    28
transparency, the Debtor has erred on the side of inclusion, whether or not the transferee is a
creditor of the Debtor. Accordingly, the listing of any transfer in response to Question 6 of the
Statements does not constitute an admission that the transferee of such transfer is a creditor of
the Debtor.

8. Setoffs.

The Debtor may incur setoffs from third parties, particularly professionals and other creditors
who may apply outstanding invoices against retainers or deposits in their possession. The Debtor
may not have full knowledge of either the occurrence or value of these setoffs in real-time. The
Debtor reserves all rights to enforce or challenge, as the case may be, any setoffs that have been
or may be asserted.

9. Specific Notes.

These general notes are in addition to the specific notes set forth in the related Statements and
Schedules hereinafter.

                                       Notes to Schedule “A / B”

Unless otherwise noted, all of the amounts listed on Schedule A/B represent the value of each
Debtor’s assets as reflected in the Debtor’s books and records. The Debtor has performed no
independent review of the value of these assets. The actual value of the assets listed may differ
significantly from the amounts reflected in each Debtor’s books and records.

The following notes on specific responses are provided in the interest of transparency.

Question 4.1: The asset listed is a watercraft that was damaged in an accident and is currently
inoperable. An insurance claim has been filed and is in process. The value indicated presumes the
watercraft is restored to operable condition after repairs and/or is not restored but an offsetting
insurance payment is received.

Question 17: Checking accounts ending 6040, 6057, and 6065 are held jointly with the mother of
the Debtor’s two children, and are used for expenditures related to their education, health, and
general welfare in the ordinary course as part of a child support agreement.

Question 22: The Debtor has funded various retainers and escrow amounts held by professionals:

        Ashley Rust Associates – public relations

        DOJ Bail – cash bond

        Goodwin Procter – litigation counsel

        Keller Benvenutti Kim – bankruptcy counsel

        McManis Faulkner – litigation counsel

        Paladin – bankruptcy financial advisor



                                                  4
DOCS_SF:97023.3 05062/002
Case: 20-30242              Doc# 17   Filed: 03/18/20 Entered: 03/18/20 22:46:59          Page 23 of
                                                    28
        Ramsey & Ehrlich – defense counsel (also holds $756,499 in escrow for Google litigation
         damages)

        Reevemark, LLC – public relations

Question 25: The Debtor has established several Charitable Lead Annuity Trusts (each, a
“CLAT”). CLATs are irrevocable trusts from which annuity payments are made to designated
charities over a defined number of years, after which time any residual value remaining in the trust
is transferable to designated beneficiaries on a tax-free basis. The Debtor’s CLATs have a term of
twenty years. The value at the end of the term is difficult to estimate and could be either higher or
lower than the figures herein. The Debtor is a beneficiary of these CLATs.

Question 28: The Debtor has not yet filed a return for the 2019 tax year, but does not anticipate any
refund. Inasmuch as they could impact the Debtor’s income in tax years 2015 and 2016, the
litigations described in Question 33 may have tax implications requiring amended returns, which
may or may not result in refunds for those years.

Question 30: The Robert Miller and Randall Miller loan balances are subject to verification.

Question 34: Certain professionals hold substantial retainer balances against which pre-petition
amounts owed for professional fees and expenses related to ongoing litigation and other services
may be applied. The Debtor may not have full knowledge of either the occurrence or value of
such transactions in real-time.

Question 35: The Debtor has invested in various Simple Agreement for Future Equity (“SAFE”)
convertible notes benefitting insiders. The One70 SAFE is issued by the Debtor’s brother. The
Home Studio SAFE is issued by the Debtor’s fiancée. The Pronto SAFE is issued by a company
co-founded by the Debtor and which currently employs him.

                                         Note to Schedule “C”

                                      Property Claimed as Exempt

Schedule “C” contains the Debtor’s best estimate as of the date hereof of the property he is entitled
to claim as exempt under section 522 of the Bankruptcy Code. The Debtor reserves the right to
supplement Schedule “C.”

                                        Note to Schedule “E / F”

                                                 Taxes

Schedule “E” contains the Debtor’s best estimate of all of the potential priority claims against each
Debtor’s estate held by governmental and quasi-governmental entities. The Debtor has not
determined whether, and to what extent, any of the creditors identified on Schedule “E” in fact are
entitled to priority under section 507 of the Bankruptcy Code. The Debtor reserves the right to assert
that claims identified on Schedule “E” are not claims of governmental entities and/or that such
claims are not entitled to priority.

                                           Domestic Support


                                                   5
DOCS_SF:97023.3 05062/002
Case: 20-30242              Doc# 17   Filed: 03/18/20 Entered: 03/18/20 22:46:59         Page 24 of
                                                    28
Schedule “E” contains the Debtor’s monthly child support obligation. The Debtor has not
determined whether, and to what extent, any of the creditors identified on Schedule “E” in fact are
entitled to priority under section 507 of the Bankruptcy Code. The Debtor reserves the right to assert
that claims identified on Schedule “E” are not entitled to priority.

                                       General Unsecured Claims

The Debtors have used reasonable best efforts to list all general unsecured claims against the
Debtors on Schedule “E/F” based upon the Debtors’ existing books and records. Amounts
included on Schedule “E/F” are the Debtors’ best estimates of liabilities and subject to change as
the Debtor continues to review its books and records and receive further information from
creditors. The Debtor reserves all rights to amend this list of creditors and the nature and
amounts of their claims.

The inclusion of any litigation action in these Statements and Schedules does not constitute an
admission by the Debtors of liability, the validity of any litigation action, or the amount or
treatment of any claims, defenses, counterclaims, and cross-claims with respect to any litigation
action and the amount or treatment of any potential claim resulting from any litigation action
currently pending or that may arise in the future.

                                         Note to Schedule “G”

                               Executory Contracts and Unexpired Leases

The Debtor hereby reserves all rights to dispute the validity, status, or enforceability of any
contracts, agreements or leases set forth in Schedule G and to amend or supplement such Schedule
as necessary. The contracts, agreements and leases listed on Schedule G may not have taken effect
or be binding on any party and may have expired or been modified, amended, or supplemented
from time to time by various amendments, restatements, waivers, estoppel certificates, letter and
other documents, instruments and agreements which may not be listed therein.

Certain of the real property leases and contracts listed on Schedule G may contain renewal options,
guarantees of payments, options to purchase, rights of first refusal, rights to lease additional space
and other miscellaneous rights. Such rights, powers, duties and obligations are not set forth on
Schedule G.

The Debtor reserves all of his rights, claims and causes of action with respect to the contracts and
agreements listed on the Schedules, including the right to dispute or challenge the characterization
or the structure of any transaction, document, or instrument. Certain executory agreements may
not have been memorialized in writing and could be subject to dispute. Generally, executory
agreements that are oral in nature have not been included in the Schedules.

The listing of any contract on Schedule G does not constitute an admission by the Debtor as to the
validity of any such contract. The Debtor reserves the right to dispute the effectiveness of any such
contract listed on Schedule G or to amend Schedule G at any time to remove any contract.



                                                  6
DOCS_SF:97023.3 05062/002
Case: 20-30242              Doc# 17   Filed: 03/18/20 Entered: 03/18/20 22:46:59         Page 25 of
                                                    28
Omission of a contract or agreement from Schedule G does not constitute an admission that such
omitted contract or agreement is not an executory contract or unexpired lease. The Debtor’s rights
under the Bankruptcy Code with respect to any such omitted contracts or agreements are not
impaired by the omission.

                                          Note to Schedule “I”

                                                Income

The Debtor is currently employed by Pronto, an automotive safety technology firm that the Debtor
co-founded and in which the Debtor is currently an investor through a Simple Agreement for
Future Equity (“SAFE”) convertible note.

This schedule does not include cash interest income of de minimis value generated by various
investment accounts and other holdings of the Debtor. Through January 2020, the Debtor received
annual cash interest income on a loan to Fawn Park, LLC, a private entity that primarily holds real
estate and that, through family relationships, is an insider of the Debtor. The Debtor anticipates
this loan will be repaid in March 2020, as such no future interest income is anticipated. It is for this
reason that the figure in Question 12 of this Schedule “I” differs from the figure in Question 11 of
Form 122B.

The Debtor’s CLATs as described above generate dividend income from their holdings, but that
income is not included in this Schedule I as it is held in the trust and is not available to the Debtor
on a current basis.

                                          Note to Schedule “J”

                                               Expenses

The Debtor maintains a household consisting of himself, his fiancée, and his two sons, who live
with him part-time under a joint custody arrangement with their mother. Rent expense is shown as
zero as it has been prepaid through July 2020 on the primary residence, and through June 2020 on a
secondary residence, which will be vacated. The majority of the medical expenses are for the benefit
of the boys, incremental to the childcare and education expenses listed.

The Debtor also pays monthly retainers to his business manager and PR/project manager, as well
as occasional fees to a financial advisor. The Debtor’s stepmother is his business manager and
maintains his financial records. Due to his high profile, the Debtor requires the services of public
relations professionals and has retained his fiancée to manage his overall public relations effort as
well as various personal projects.

                                          Notes to Statements

Question 5: As described above, income is accruing to the various CLATs of which the Debtor is a
beneficiary, but such income is not available to the Debtor during the twenty-plus year term of
these irrevocable trusts. In 2018, the Debtor reported to tax authorities both income and losses from
sources other than wages that largely offset each other.

                                                   7
DOCS_SF:97023.3 05062/002
Case: 20-30242              Doc# 17   Filed: 03/18/20 Entered: 03/18/20 22:46:59           Page 26 of
                                                    28
Question 6: During the 90 days prior to filing, the Debtor disbursed substantial amounts of cash.
The Debtor invested approximately $3.25M in SAFE notes issued by Pronto and by Home Studio,
a business owned by the Debtor’s fiancée. The Debtor also paid considerable legal fees owed and
a restitution payment held in escrow by defense counsel. The Debtor also funded professional fee
retainers for advisors whose services will be required during the pendency of the bankruptcy, and
prepaid rent. In addition, the Debtor purchased an automobile, which he subsequently gifted to his
fiancée. This gift is listed in the response to Question 13.

Questions 7 and 8: For purposes of these Statements, “insiders” include:

        Stefanie Olsen – mother of Debtor’s two children; also a Priority Unsecured Creditor

        Suzanna Musick – Debtor’s stepmother and business manager

        Victoria Pacchiana – Debtor’s fiancée and principal owner of Home Studio, in which the
         Debtor holds an investment in the form of a SAFE note.

        One70 – Partnership controlled by the Debtor’s brother

        Fawn Park LLC – Partnership controlled by the Debtor’s father and stepmother that owns
         the Debtor’s secondary residence, and which owes the Debtor $720,000 as of March 4,
         2020

        Pronto.ai – Technology company co-founded by Debtor. As of August 2019, Debtor
         resigned as CEO but remains an investor through a SAFE and is currently employed by the
         company.

Aside from the domestic support payments, most of the transfers to the insiders listed were in
exchange for what the Debtor believes to be reasonably equivalent value. The Debtor’s stepmother
and fiancée are providing services that the Debtor would otherwise have to obtain from outsiders.
Payments to Fawn Park are for rent on the Debtor’s primary residence. Transfers to One70, Home
Studio, and Pronto were in exchange for SAFE convertible notes. Certain transfers to the Debtor’s
stepmother in March 2019 were essentially pass-through transactions, in which the funds were
ultimately invested into Pronto SAFE notes for the Debtor’s benefit, transferred into the joint bank
accounts for the benefit of the Debtor’s children, or returned directly to the Debtor. The net
remaining amount of $35,000 is currently listed as a receivable in the response to Schedule “A/B”
Question 30.

The Debtor reserves the right to amend or supplement this list.

Question 11: The Debtor has various fee retainers in place with legal and other professionals.
The Debtor’s financial advisor, Paladin, applied $13,319.43 in pre-petition fees against the
$40,000 retainer in Paladin’s possession prior to the petition filing. Certain other professionals
may have also incurred fees and expenses pre-petition and applied those amounts to retainers in



                                                  8
DOCS_SF:97023.3 05062/002
Case: 20-30242              Doc# 17   Filed: 03/18/20 Entered: 03/18/20 22:46:59       Page 27 of
                                                    28
their possession. The Debtor does not have full knowledge of either the occurrence or value of
these transactions.

Question 14: The Debtor made contributions to the CLATs during 2018, which are not included
here.

Question 18: The Debtor is a guarantor on various construction loans totaling approximately $50M
borrowed by real estate-focused LLCs in which the Debtor holds equity interest.

Question 20: In January 2020, the Debtor liquidated his $8.0M interest in RAD Oakland Investco
LLC for cash proceeds of $6.2M, approximately $3.0M of which was invested in the Pronto SAFE
convertible note instrument. The remaining proceeds went to fund the Debtor’s legal fees,
professional retainers, and other accrued litigation-related expenses. In August 2019, the Debtor
sold his equity in Pronto back to the company for its par value of $50.

Question 28: The Debtor holds interests in various LLCs, some of which have furnished the
Debtor’s financial statements to other parties in connection with capital raising and other activities
by those LLCs. This list is not intended to be exhaustive, as the LLCs may have shared the
Debtor’s financials with additional parties unbeknownst to the Debtor.

Part 12: Portions of the Debtor’s Schedules and SOFA were filled in by Paladin Management;
however, Paladin did so under the direct supervision of Keller Benvenutti Kim LLP, Debtor’s
proposed bankruptcy counsel. Accordingly, Paladin does not constitute a “bankruptcy petition
preparer” under section 110(a)(1) of the Bankruptcy Code.

                                          General Disclaimer

The Debtor has prepared the Statement and Schedules based on the information reflected in the
Debtor’s books and records. However, inasmuch as the Debtor’s books and records have not
been audited, the Debtor cannot warrant the absolute accuracy of these documents. The Debtor
has made a diligent effort to complete these documents accurately and completely. To the extent
additional information becomes available that materially impacts the disclosures contained in the
Statement and/or Schedules, the Debtor will amend and supplement the Statement and
Schedules.




                                                  9
DOCS_SF:97023.3 05062/002
Case: 20-30242              Doc# 17   Filed: 03/18/20 Entered: 03/18/20 22:46:59          Page 28 of
                                                    28
